   Case 2:20-cv-07000-MWF-GJS Document 37-1 Filed 10/13/20 Page 1 of 62 Page ID #:215

                                                                                                                Statement
                                                                                                    Date                     5/31/2019
1400 North McDowell Blvd. Suite 300                                                                 Customer                  0122476
Petaluma, CA 94954
1-800-938-8815 ext. 1                                                                               Terms                        Daily
TIN: XX-XXXXXXX
                                                                                                    Amount Due                $230.00
 Billing Address
 Jesse Graham
 1055 West 7Th Street
 3365
 los angeles CA 90650




 Date         Invoice #       Order #    Client Billing    Case #                Case Name                        Amount     Remaining

 5/1/2019     B a l a n c e                                                                                                       $0.00
              Forward

 5/13/2019    11814366        13149579                     2:18-cv-09071-MWF-    Jesse Graham v Taylor Swift,      $230.00      $230.00
                                                           GJS                   et al.



 Current                  1-30 Days           31-60 Days            61-90 Days             Over 90 Days            Amount Due
 $0.00                    $230.00            $0.00                  $0.00                  $0.00                   $230.00




Please note: Credit Card Sales do not display on Statement.
                                                                                                                             1 of 1
    Case 2:20-cv-07000-MWF-GJS Document 37-1 Filed 10/13/20 Page 2 of 62 Page ID #:216

                                                                                                                             Invoice
                                                                                                                   Date            5/13/2019
1400 North McDowell Blvd. Suite 300                                                                                Customer            0122476
Petaluma, CA 94954
1-800-938-8815 ext. 1                                                                                              Invoice         11814366
TIN: XX-XXXXXXX
                                                                                                                   Due Date        5/13/2019
 Bill To
                                                                                                                   Terms                 Daily
 Jesse Graham
 1055 West 7Th Street                                                                                              Amount Due          $230.00
 3365
 los angeles CA 90650




 Order Number                                           13149579
 Billing Code
 Case Number                                            2:18-cv-09071-MWF-GJS
 Court Transaction Number
 Contact                                                Jesse Graham
 Attorney                                               none
 Case Title                                             Jesse Graham v Taylor Swift, et al.
 Documents                                              Complaint, Summons
 Court                                                  United States District Court, Central District of California
 Assignment Details                                     Non-Service - Taylor Swift


 ONE LEGAL FEES                                                                                                                        AMOUNT
 Additional Service Attempts - One Day                                                                                                 $125.00
 Process Serving Area Surcharge                                                                                                        $105.00
       SUBTOTAL                                                                                                                        $230.00

 FEES SUMMARY                                                                                                                          AMOUNT
 One Legal Fees                                                                                                                        $230.00
       TOTAL BILLED                                                                                                                    $230.00




Past due balance may be charged a late payment fee and/or a late charge of up to 1.5% per month (18% per annum).
   Case 2:20-cv-07000-MWF-GJS Document 37-1 Filed 10/13/20 Page 3 of 62 Page ID #:217

                                                                                                               Statement
                                                                                                   Date                     5/28/2019
1400 North McDowell Blvd. Suite 300                                                                Customer                  0122476
Petaluma, CA 94954
1-800-938-8815 ext. 1                                                                              Terms                        Daily
TIN: XX-XXXXXXX
                                                                                                   Amount Due                $230.00
 Billing Address
 Jesse Graham
 1055 West 7Th Street
 3365
 los angeles CA 90650




 Date         Invoice #      Order #    Client Billing    Case #                Case Name                        Amount     Remaining

 5/13/2019    11814366       13149579                     2:18-cv-09071-MWF-    Jesse Graham v Taylor Swift,      $230.00      $230.00
                                                          GJS                   et al.



 Current                  1-30 Days          31-60 Days            61-90 Days             Over 90 Days            Amount Due
 $0.00                    $230.00           $0.00                  $0.00                  $0.00                   $230.00




Please note: Credit Card Sales do not display on Statement.
                                                                                                                            1 of 1
       Case
10/13/2020    2:20-cv-07000-MWF-GJS Document Gmail
                                             37-1- 12574015
                                                     Filed 10/13/20
                                                            - Taylor Swift Page 4 of 62 Page ID #:218



                                                                              Kin Folk experimental <jessegrahamla@gmail.com>



  12574015 - Taylor Swift
  3 messages

  Jovante Lewis <jlewis@onelegal.com>                                                                      Tue, Dec 18, 2018 at 2:46 PM
  To: "jessegrahamla@gmail.com" <jessegrahamla@gmail.com>


    The home is under construction and the security will not provide access or give any information. Please advise on
    service instructions. Do you want us to serve the security and if so on what attempt? Please advise and we will proceed
    accordingly.




                              Jovante Lewis

                              Document Specialist II, One Legal

                              (800) 938-8815 | www.onelegal.com | Request a demo




                              Facebook | LinkedIn | Twitter | Blog | Support




    Choose the simplest way to file. With Email to File it’s as easy as sending us an email.

    A specialist will assemble, review and submit your filing on your behalf. Learn more.




    Disclaimer

    The information contained in this communication from the sender is confidential. It is intended solely for use by the recipie nt and
    others authorized to receive it. If you are not the recipient, you are hereby notified that any disclosure, copying, distrib ution or
    taking action in relation of the contents of this information is strictly prohibited and may be unlawful.

    This email has been scanned for viruses and malware, and may have been automatically archived by Mimecast Ltd, an
    innovator in Software as a Service (SaaS) for business. Providing a safer and more useful place for your human generated
    data. Specializing in; Security, archiving and compliance. To find out more Click Here.



  mr Graham <jessegrahamla@gmail.com>                                                                      Tue, Dec 18, 2018 at 2:48 PM
  To: Jovante Lewis <jlewis@onelegal.com>
https://mail.google.com/mail/u/0?ik=583c91d34c&view=pt&search=all&permthid=thread-f%3A1620231544349557087&simpl=msg-f%3A16202315443… 1/2
       Case
10/13/2020     2:20-cv-07000-MWF-GJS Document Gmail
                                              37-1- 12574015
                                                      Filed 10/13/20
                                                             - Taylor Swift Page 5 of 62 Page ID #:219


    Yes serve his but thanks
    [Quoted text hidden]




                           image001.png
                           5K




  mr Graham <jessegrahamla@gmail.com>                                                                   Tue, Dec 18, 2018 at 2:54 PM
  To: Jovante Lewis <jlewis@onelegal.com>

    That will be the third attempt serve his but or leave with him I also sent certified mail

    On Tue, Dec 18, 2018, 2:46 PM Jovante Lewis <jlewis@onelegal.com wrote:
    [Quoted text hidden]




                           image001.png
                           5K




https://mail.google.com/mail/u/0?ik=583c91d34c&view=pt&search=all&permthid=thread-f%3A1620231544349557087&simpl=msg-f%3A16202315443… 2/2
       Case
10/13/2020     2:20-cv-07000-MWF-GJS Document Gmail
                                              37-1- 12574015
                                                      Filed 10/13/20
                                                             - Taylor Swift Page 6 of 62 Page ID #:220



                                                                              Kin Folk experimental <jessegrahamla@gmail.com>



  12574015 - Taylor Swift
  2 messages

  Jovante Lewis <jlewis@onelegal.com>                                                                    Thu, Dec 13, 2018 at 10:59 AM
  To: "jessegrahamla@gmail.com" <jessegrahamla@gmail.com>


    Referenced above is the new order number for Taylor Swift




                              Jovante Lewis

                              Document Specialist II, One Legal

                              (800) 938-8815 | www.onelegal.com | Request a demo




                              Facebook | LinkedIn | Twitter | Blog | Support




    Choose the simplest way to file. With Email to File it’s as easy as sending us an email.

    A specialist will assemble, review and submit your filing on your behalf. Learn more.




    Disclaimer

    The information contained in this communication from the sender is confidential. It is intended solely for use by the recipie nt and
    others authorized to receive it. If you are not the recipient, you are hereby notified that any disclosure, copying, distrib ution or
    taking action in relation of the contents of this information is strictly prohibited and may be unlawful.

    This email has been scanned for viruses and malware, and may have been automatically archived by Mimecast Ltd, an
    innovator in Software as a Service (SaaS) for business. Providing a safer and more useful place for your human generated
    data. Specializing in; Security, archiving and compliance. To find out more Click Here.



  mr Graham <jessegrahamla@gmail.com>                                                                     Thu, Dec 13, 2018 at 1:47 PM
  To: Jovante Lewis <jlewis@onelegal.com>

    You are the best thank you
    [Quoted text hidden]


https://mail.google.com/mail/u/0?ik=583c91d34c&view=pt&search=all&permthid=thread-f%3A1619764264143882865&simpl=msg-f%3A16197642641… 1/2
       Case
10/13/2020    2:20-cv-07000-MWF-GJS Document Gmail
                                             37-1- 12574015
                                                     Filed 10/13/20
                                                            - Taylor Swift Page 7 of 62 Page ID #:221




                      image001.png
                      5K




https://mail.google.com/mail/u/0?ik=583c91d34c&view=pt&search=all&permthid=thread-f%3A1619764264143882865&simpl=msg-f%3A16197642641… 2/2
Case 2:20-cv-07000-MWF-GJS Document 37-1 Filed 10/13/20 Page 8 of 62 Page ID #:222
Case 2:20-cv-07000-MWF-GJS Document 37-1 Filed 10/13/20 Page 9 of 62 Page ID #:223
Case 2:20-cv-07000-MWF-GJS Document 37-1 Filed 10/13/20 Page 10 of 62 Page ID
                                  #:224
10/13/2020Case     2:20-cv-07000-MWF-GJS         Document
                                 Gmail - Successful                37-1
                                                    service of process JesseFiled
                                                                             Graham10/13/20
                                                                                    vs. Taylor SwiftPage   11through
                                                                                                     and does1 of 6210 Page ID
                                                                 #:225

                                                                            Kin Folk experimental <jessegrahamla@gmail.com>



  Successful service of process Jesse Graham vs. Taylor Swift and does1 through 10
  2 messages

  noreply@onelegal.com <noreply@onelegal.com>                                                          Thu, Dec 27, 2018 at 9:55 AM
  To: jessegrahamla@gmail.com


       Dear Jesse Graham ,

       We have successfully served your documents for Jesse Graham vs. Taylor Swift and does1 through 10 :

          Attempt Date          Attempt Time       Address              Status    Manner of Service                       Desc
            12/21/2018              5:01 PM        1200 Laurel LN                 Individual Substitute Service

       What happens next
       We are processing your proof of service. When it's available, you'll receive it by email. This typically takes 3-5
       business days.

       Your feedback
       To ensure we provide you the best possible service, we would appreciate your feedback on how we did with
       your order. Please take this brief, 2-minute survey.

       If you have questions, please check out our FAQs for answers, or email us at support@onelegal.com.

       Thank you. We appreciate your business.

       Sincerely,
       One Legal




  mr Graham <jessegrahamla@gmail.com>                                                                 Thu, Dec 27, 2018 at 10:32 AM
  To: noreply@onelegal.com

    yahoooooo
    [Quoted text hidden]




https://mail.google.com/mail/u/0?ik=583c91d34c&view=pt&search=all&permthid=thread-f%3A1621028592438017134&simpl=msg-f%3A16210285924… 1/1
      Case 2:20-cv-07000-MWF-GJS Document 37-1 Filed 10/13/20 Page 12 of 62 Page ID
                                        #:226
                                                                                                Credit Card Sale
                                                                                             Date           12/27/2018
1400 North McDowell Blvd. Suite 300
Petaluma, CA 94954                                                                           Customer         0122476
1-800-938-8815 ext. 1
TIN: XX-XXXXXXX                                                                              Credit Sale     01672593
We’ve moved! Please update your records with our new mailing address.
                                                                                             Amount Due            $0
 Bill To
 Jesse Graham
 1055 West 7Th Street
 3365
 los angeles CA 90650




 Order Number                         12574015
 Contact                              Jesse Graham
 Attorney                             none
 Billing Code
 Case Title                           Jesse Graham v Taylor Swift and does1 through 10
 Court                                United States District Court, Central District of California
 Court Transaction Number
 Case Number                          cv18-9071-SVW (AFMX)
 Documents                            Summons, Civil Cover Sheet, Notice of Interested Parties, Complaint
 Assignment Details                   Substitute Service-Individual - Taylor Swift


 ONE LEGAL FEES                                                                                              AMOUNT
 Mailing Declaration                                                                                            $15.00
 Process Serving - Three Day                                                                                    $75.00
 Process Serving Copy Charge                                                                                     $3.25
    SUBTOTAL                                                                                                    $93.25

 FEES SUMMARY                                                                                                AMOUNT
 One Legal Fees                                                                                                 $93.25
    TOTAL CHARGED                                                                                               $93.25
      Case 2:20-cv-07000-MWF-GJS Document 37-1 Filed 10/13/20 Page 13 of 62 Page ID
                                        #:227
                                                                                                Credit Card Sale
                                                                                             Date           12/7/2018
1400 North McDowell Blvd. Suite 300
Petaluma, CA 94954                                                                           Customer        0122476
1-800-938-8815 ext. 1
TIN: XX-XXXXXXX                                                                              Credit Sale    01646695
We’ve moved! Please update your records with our new mailing address.
                                                                                             Amount Due            $0
 Bill To
 Jesse Graham
 1055 West 7Th Street
 3365
 los angeles CA 90650




 Order Number                         12511986
 Contact                              Jesse Graham
 Attorney                             none
 Billing Code
 Case Title                           Jesse Graham v Taylor Swift and does1 through 10
 Court                                United States District Court, Central District of California
 Court Transaction Number
 Case Number                          cv18-9071-SVW (AFMX)
 Documents                            Summons, Civil Cover Sheet, Notice of Interested Parties, Complaint
 Assignment Details                   Non-Service - Taylor Swift


 ONE LEGAL FEES                                                                                             AMOUNT
 Additional Service Attempts - Three Day                                                                       $75.00
    SUBTOTAL                                                                                                   $75.00

 FEES SUMMARY                                                                                               AMOUNT
 One Legal Fees                                                                                                $75.00
    TOTAL CHARGED                                                                                              $75.00
      Case 2:20-cv-07000-MWF-GJS Document 37-1 Filed 10/13/20 Page 14 of 62 Page ID
                                        #:228
                                                                                                Credit Card Sale
                                                                                             Date           12/27/2018
1400 North McDowell Blvd. Suite 300
Petaluma, CA 94954                                                                           Customer         0122476
1-800-938-8815 ext. 1
TIN: XX-XXXXXXX                                                                              Credit Sale     01672593
We’ve moved! Please update your records with our new mailing address.
                                                                                             Amount Due            $0
 Bill To
 Jesse Graham
 1055 West 7Th Street
 3365
 los angeles CA 90650




 Order Number                         12574015
 Contact                              Jesse Graham
 Attorney                             none
 Billing Code
 Case Title                           Jesse Graham v Taylor Swift and does1 through 10
 Court                                United States District Court, Central District of California
 Court Transaction Number
 Case Number                          cv18-9071-SVW (AFMX)
 Documents                            Summons, Civil Cover Sheet, Notice of Interested Parties, Complaint
 Assignment Details                   Substitute Service-Individual - Taylor Swift


 ONE LEGAL FEES                                                                                              AMOUNT
 Mailing Declaration                                                                                            $15.00
 Process Serving - Three Day                                                                                    $75.00
 Process Serving Copy Charge                                                                                     $3.25
    SUBTOTAL                                                                                                    $93.25

 FEES SUMMARY                                                                                                AMOUNT
 One Legal Fees                                                                                                 $93.25
    TOTAL CHARGED                                                                                               $93.25
10/13/2020Case   2:20-cv-07000-MWF-GJS
                                    Gmail - Document        37-1
                                            Service of process       FiledJesse
                                                               order placed 10/13/20
                                                                                Graham vs.Page    15 of 62 Page ID
                                                                                           Taylor Swift
                                                         #:229

                                                                              Kin Folk experimental <jessegrahamla@gmail.com>



  Service of process order placed Jesse Graham vs. Taylor Swift
  1 message

  noreply@onelegal.com <noreply@onelegal.com>                                                               Fri, Apr 26, 2019 at 2:28 PM
  To: jessegrahamla@gmail.com

    Dear Jesse Graham,

    You've placed service of process order # 13149579. If you'd like to view the status of your order, please visit Order Status in your
    One Legal account.

    What happens next

           We'll review your order to ensure we have all the informa on we need to complete your service of process request.
           You'll receive an email update when our review is complete. We'll either request more informa on or conﬁrm with you that
           your order is in progress.

    If you have ques ons, please check our FAQs for answers, or email us at support@onelegal.com.

    Thank you. We appreciate your business.

    Sincerely,
    One Legal

    Subscribe to our blog for the latest news and best prac ces on legal support.




https://mail.google.com/mail/u/0?ik=583c91d34c&view=pt&search=all&permthid=thread-f%3A1631913609901125286&simpl=msg-f%3A16319136099…       1/1
10/13/2020Case   2:20-cv-07000-MWF-GJS
                                    Gmail - Document        37-1
                                            Service of process       FiledJesse
                                                               order placed 10/13/20
                                                                                Graham vs.Page    16 of 62 Page ID
                                                                                           Taylor Swift
                                                         #:230

                                                                              Kin Folk experimental <jessegrahamla@gmail.com>



  Service of process order placed Jesse Graham vs. Taylor Swift
  1 message

  noreply@onelegal.com <noreply@onelegal.com>                                                               Fri, Apr 26, 2019 at 2:28 PM
  To: jessegrahamla@gmail.com

    Dear Jesse Graham,

    You've placed service of process order # 13149579. If you'd like to view the status of your order, please visit Order Status in your
    One Legal account.

    What happens next

           We'll review your order to ensure we have all the informa on we need to complete your service of process request.
           You'll receive an email update when our review is complete. We'll either request more informa on or conﬁrm with you that
           your order is in progress.

    If you have ques ons, please check our FAQs for answers, or email us at support@onelegal.com.

    Thank you. We appreciate your business.

    Sincerely,
    One Legal

    Subscribe to our blog for the latest news and best prac ces on legal support.




https://mail.google.com/mail/u/0?ik=583c91d34c&view=pt&search=all&permthid=thread-f%3A1631913609901125286&simpl=msg-f%3A16319136099…       1/1
10/13/2020Case   2:20-cv-07000-MWF-GJS
                                    Gmail - Document        37-1
                                            Service of process attemptFiled  10/13/20
                                                                       Jesse Graham         Page
                                                                                    vs. Taylor Swift, 17
                                                                                                      et al.of 62 Page ID
                                                          #:231

                                                                            Kin Folk experimental <jessegrahamla@gmail.com>



  Service of process attempt Jesse Graham vs. Taylor Swift, et al.
  1 message

  noreply@onelegal.com <noreply@onelegal.com>                                                         Wed, May 1, 2019 at 10:34 AM
  To: jessegrahamla@gmail.com


       Dear Jesse Graham ,

       We have made the following service of process attempts for Jesse Graham vs. Taylor Swift, et al. :

         Attempt        Attempt                                   Manner of
                                     Address           Status                        Desc
          Date           Time                                     Service
                                     4235 Hillsboro                                  Agent not in. No one else authorized to
        4/29/2019       1:00 PM                        Not In     Attempt
                                     Pike                                            accept.
                                     4235 Hillsboro    No
        4/30/2019       9:00 AM                                   Attempt            Server called and left a message.
                                     Pike              Answer

       What happens next
       As a reminder, timing for up to seven service of process attempts will depend on the level of service you
       chose for the order:

              Three Day - a minimum of one attempt every three days
              Two Day - a minimum of one attempt every two days
              One Day - a minimum of one attempt every day

       Keeping you informed
       We will notify you of attempts by email. If your service is successful, we will update you promptly, or let you
       know if all seven attempts have failed.
       Improving your chances of a successful serve

        If Service     13149579 is difficult, please call us at (800) 938-8815 to learn about related services that
        for Order                 can significantly improve your chances of a successful serve. These include:
        #:


              Skip trace
              Field locate
              Stakeout

       If you have questions, please check out our FAQs for answers, or email us at support@onelegal.com.

       Thank you. We appreciate your business.

       Sincerely,
       One Legal




https://mail.google.com/mail/u/0?ik=583c91d34c&view=pt&search=all&permthid=thread-f%3A1632351886529488703&simpl=msg-f%3A16323518865… 1/1
10/13/2020Case   2:20-cv-07000-MWF-GJS
                                    Gmail - Document        37-1
                                            Service of process attemptFiled  10/13/20
                                                                       Jesse Graham         Page
                                                                                    vs. Taylor Swift, 18
                                                                                                      et al.of 62 Page ID
                                                          #:232

                                                                             Kin Folk experimental <jessegrahamla@gmail.com>



  Service of process attempt Jesse Graham vs. Taylor Swift, et al.
  1 message

  noreply@onelegal.com <noreply@onelegal.com>                                                            Thu, May 2, 2019 at 4:50 PM
  To: jessegrahamla@gmail.com


       Dear Jesse Graham ,

       We have made the following service of process attempts for Jesse Graham vs. Taylor Swift, et al. :

        Attempt Attempt                                Manner of
                        Address               Status                  Desc
         Date     Time                                 Service
                         4235
       4/29/2019 1:00 PM Hillsboro            Not In Attempt          Agent not in. No one else authorized to accept.
                         Pike
                          4235
                                              No
       4/30/2019 9:00 AM Hillsboro                   Attempt          Server called and left a message.
                                              Answer
                          Pike
                           4235
                                                                      Agent not in. No one authorized to accept. Server
        5/1/2019 3:12 PM Hillsboro            Not In Attempt
                                                                      called and left another message.
                           Pike

       What happens next
       As a reminder, timing for up to seven service of process attempts will depend on the level of service you
       chose for the order:

              Three Day - a minimum of one attempt every three days
              Two Day - a minimum of one attempt every two days
              One Day - a minimum of one attempt every day

       Keeping you informed
       We will notify you of attempts by email. If your service is successful, we will update you promptly, or let you
       know if all seven attempts have failed.
       Improving your chances of a successful serve

        If Service     13149579 is difficult, please call us at (800) 938-8815 to learn about related services that
        for Order                 can significantly improve your chances of a successful serve. These include:
        #:


              Skip trace
              Field locate
              Stakeout

       If you have questions, please check out our FAQs for answers, or email us at support@onelegal.com.

       Thank you. We appreciate your business.

       Sincerely,
       One Legal




https://mail.google.com/mail/u/0?ik=583c91d34c&view=pt&search=all&permthid=thread-f%3A1632466120464638995&simpl=msg-f%3A16324661204… 1/1
Case 2:20-cv-07000-MWF-GJS Document 37-1 Filed 10/13/20 Page 19 of 62 Page ID
                                  #:233
Case 2:20-cv-07000-MWF-GJS Document 37-1 Filed 10/13/20 Page 20 of 62 Page ID
                                  #:234
10/13/2020Case   2:20-cv-07000-MWF-GJS      Document
                                  Gmail - Unsuccessful      37-1
                                                       service        Filed
                                                               of process     10/13/20
                                                                          Jesse             Page
                                                                                Graham vs. Taylor    21et of
                                                                                                  Swift,  al. 62 Page ID
                                                         #:235

                                                                             Kin Folk experimental <jessegrahamla@gmail.com>



  Unsuccessful service of process Jesse Graham vs. Taylor Swift, et al.
  1 message

  noreply@onelegal.com <noreply@onelegal.com>                                                           Mon, May 6, 2019 at 2:36 PM
  To: jessegrahamla@gmail.com


       Dear Jesse Graham ,

       We could not successfully serve your documents for Jesse Graham vs. Taylor Swift, et al. :

        Attempt Attempt                                Manner of
                        Address               Status                  Desc
         Date     Time                                 Service
                         4235
       4/29/2019 1:00 PM Hillsboro            Not In Attempt          Agent not in. No one else authorized to accept.
                         Pike
                          4235
                                              No
       4/30/2019 9:00 AM Hillsboro                   Attempt          Server called and left a message.
                                              Answer
                          Pike
                           4235
                                                                      Agent not in. No one authorized to accept. Server
        5/1/2019 3:12 PM Hillsboro            Not In Attempt
                                                                      called and left another message.
                           Pike
                           4235
                                                                      Server called attorney and did not get an answer. No
        5/3/2019 1:08 PM Hillsboro                     Non-Service
                                                                      one else authorized to accept.
                           Pike

       What happens next

          If you haven't already received a call from us, please contact us at               13149579 to discuss what you
        (800) 938-8815, and refer to this email and order #                                            would like to do
                                                                                                       next.

          Additional options, including skip trace, field locate, and stakeout, are available through One Legal, and
        can significantly increase the chance of a successful serve.

          If we do not receive additional instructions in 72 hours, the order will be closed, and you will receive a
        non-service report by email.

       Thank you.

       Sincerely,
       One Legal




https://mail.google.com/mail/u/0?ik=583c91d34c&view=pt&search=all&permthid=thread-f%3A1632820073988992580&simpl=msg-f%3A16328200739… 1/1
                       Issuewire
    Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 22 of 62 Page ID
                       www.Issuewire.com
                                              #:236




PRESS RELEASE
DISTRIBUTION REPORT
December 03, 2018




Company : NEW DAY WORLDWIDE

Email : eyeboxgroup@gmail.com

Website : http://yolasite.com/newdayworldwide

Address :
                             Issuewire
          Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 23 of 62 Page ID
                             www.Issuewire.com
                                                    #:237

Distribution Report



Taylor Swift Haters Gone Hate Case Resurfaces

Date Submitted: Dec 2, 2018




                                 Your News PlacementURL                 Google Pickup



                                 See YourRelease                    See YourRelease




Your content has been distributed to these endpoints:
                         Issuewire
      Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 24 of 62 Page ID
                         www.Issuewire.com
                                                #:238

Taylor Swift Haters Gone Hate Case Resurfaces
Smiggereen Music and Singer Jesse Graham say video proves Swift lifted lyrics Judge says
lets see it




Los Angeles, Dec 2, 2018 (Issuewire.com) - Taylor Swift vs Jesse Graham

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

JESSE GRAHAM,
Plaintiff,

vs.

TAYLOR SWIFT, AND DOES 1 THROUGH 10,

Defendants.

Case No.: CV18-9071 SVW (AFMX)

COMPLAINT

[DEMAND FOR TRIAL BY JURY]

LOS ANGELES - 12/03/2018 —

Hater gone hate Playas gone play Watch out for them Fakers they'll fake you everyday.-Jesse
                        Issuewire
     Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 25 of 62 Page ID
                        www.Issuewire.com
                                               #:239

Graham writer.
filed Oct 22, 2018, Los Angeles Courthouse - A video has surfaced of the famed singer borrowing the
song from Youtube
Graham has been asking that he be added as a songwriter on the gem and asking for Settlement of
47 million dollars half of the reported revenue generated from the song Shake it off! -
Graham added that many writers have been compensated for much less of a contribution to a work
and ask MS Swift to bless the right one as she gives - and end the stone walling and obliviousness -
"come to the table with that band aid Tay Tay"!! -
Jesse Graham Quote
jessegrahamla@gmail.com



Media Contact

Company Name: NEW DAY WORLDWIDE
Full Name: Junior Graham
Phone: 3233930548
Email Address: eyeboxgroup@gmail.com
Website: https://www.youtube.com/watch?v=808MLaHcBs4




Media Contact

NEW DAY WORLDWIDE

eyeboxgroup@gmail.com

323 393 0548

1055 WEST 7Th Street, 3365

http://yolasite.com/newdayworldwide

Source : NEW DAY WORLDWIDE

See on IssueWire :
https://www.issuewire.com/taylor-swift-haters-gone-hate-case-resurfaces-1618801964467708
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 26 of 62 Page ID
                   www.Issuewire.com
                                          #:240
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 27 of 62 Page ID
                   www.Issuewire.com
                                          #:241



                        GOOGLE NEWS WEBSITE
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 28 of 62 Page ID
                   www.Issuewire.com
                                          #:242



             YOUR PRESS RELEASE IN GOOGLE NEWS
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 29 of 62 Page ID
                   www.Issuewire.com
                                          #:243



           YOUR PRESS RELEASE IN GOOGLE SEARCH
                      Issuewire
   Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 30 of 62 Page ID
                      www.Issuewire.com
                                             #:244



Full-Text Distribution Report


                               View Release                   Entertainment
                                                              Legal
                                                              Media
                                                              Music
                                                              Television


                               View Release                   Entertainment
                                                              Legal
                                                              Media
                                                              Music
                                                              Television


                               View Release                   Entertainment
                                                              Legal
                                                              Media
                                                              Music
                                                              Television


                               View Release                   Entertainment
                                                              Legal
                                                              Media
                                                              Music
                                                              Television


                               View Release                   Entertainment
                                                              Legal
                                                              Media
                                                              Music
                                                              Television


                               View Release                   Entertainment
                                                              Legal
                                                              Media
                                                              Music
                                                              Television


                               View Release                   Entertainment
                                                              Legal
                                                              Media
                                                              Music
                                                              Television
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 31 of 62 Page ID
                   www.Issuewire.com
                                          #:245

                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release

                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 32 of 62 Page ID
                   www.Issuewire.com
                                          #:246

                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Latest News
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Latest News
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 33 of 62 Page ID
                   www.Issuewire.com
                                          #:247

                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 34 of 62 Page ID
                   www.Issuewire.com
                                          #:248

                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Latest News
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Latest News
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 35 of 62 Page ID
                   www.Issuewire.com
                                          #:249

                                                           Latest News
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Latest News
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Latest News
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 36 of 62 Page ID
                   www.Issuewire.com
                                          #:250

                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Latest News
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Latest News
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 37 of 62 Page ID
                   www.Issuewire.com
                                          #:251

                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Latest News
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Latest News


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 38 of 62 Page ID
                   www.Issuewire.com
                                          #:252

                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Latest News
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Latest News
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 39 of 62 Page ID
                   www.Issuewire.com
                                          #:253

                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 40 of 62 Page ID
                   www.Issuewire.com
                                          #:254

                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Latest News
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Latest News
                                                           Legal
                                                           Media
                                                           Music
                                                           Television
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 41 of 62 Page ID
                   www.Issuewire.com
                                          #:255

                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 42 of 62 Page ID
                   www.Issuewire.com
                                          #:256

                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 43 of 62 Page ID
                   www.Issuewire.com
                                          #:257

                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television



                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 44 of 62 Page ID
                   www.Issuewire.com
                                          #:258

                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 45 of 62 Page ID
                   www.Issuewire.com
                                          #:259

                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 46 of 62 Page ID
                   www.Issuewire.com
                                          #:260

                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 47 of 62 Page ID
                   www.Issuewire.com
                                          #:261

                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 48 of 62 Page ID
                   www.Issuewire.com
                                          #:262

                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 49 of 62 Page ID
                   www.Issuewire.com
                                          #:263

                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 50 of 62 Page ID
                   www.Issuewire.com
                                          #:264

                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 51 of 62 Page ID
                   www.Issuewire.com
                                          #:265

                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 52 of 62 Page ID
                   www.Issuewire.com
                                          #:266

                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 53 of 62 Page ID
                   www.Issuewire.com
                                          #:267

                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 54 of 62 Page ID
                   www.Issuewire.com
                                          #:268

                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 55 of 62 Page ID
                   www.Issuewire.com
                                          #:269

                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 56 of 62 Page ID
                   www.Issuewire.com
                                          #:270

                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television



                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 57 of 62 Page ID
                   www.Issuewire.com
                                          #:271

                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 58 of 62 Page ID
                   www.Issuewire.com
                                          #:272

                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television


                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television
                   Issuewire
Case 2:20-cv-07000-MWF-GJS         Document 37-1 Filed 10/13/20 Page 59 of 62 Page ID
                   www.Issuewire.com
                                          #:273

                            View Release                   Entertainment
                                                           Legal
                                                           Media
                                                           Music
                                                           Television
10/13/2020Case   2:20-cv-07000-MWF-GJS Document 37-1 Filed 10/13/20 Page 60 of 62 Page ID
                                              IW-1800_Google_Report.jpg
                                              #:274




https://mail.google.com/mail/u/0/#search/pr+distribution/FMfcgxvzMBftmwQlmnCkBHZmfVvplwhM?projector=1&messagePartId=0.2   1/1
        Case 2:20-cv-07000-MWF-GJS Document 37-1 Filed 10/13/20 Page 61 of 62 Page ID
                                          #:275
                                                                                                               Statement
                                                                                                    Date                    5/31/2019
1400 North McDowell Blvd. Suite 300                                                                 Customer                 0122476
Petaluma, CA 94954
1-800-938-8815 ext. 1                                                                               Terms                       Daily
TIN: XX-XXXXXXX
                                                                                                    Amount Due               $230.00
 Billing Address
 Jesse Graham
 1055 West 7Th Street
 3365
 los angeles CA 90650




 Date         Invoice #      Order #    Client Billing    Case #                Case Name                        Amount     Remaining

 5/1/2019    B a l a n c e                                                                                                       $0.00
             Forward

 5/13/2019   11814366        13149579                     2:18-cv-09071-MWF-    Jesse Graham v Taylor Swift,      $230.00      $230.00
                                                          GJS                   et al.



 Current                  1-30 Days          31-60 Days            61-90 Days             Over 90 Days            Amount Due
 $0.00                    $230.00           $0.00                  $0.00                  $0.00                   $230.00




Please note: Credit Card Sales do not display on Statement.
                                                                                                                            1 of 1
         Case 2:20-cv-07000-MWF-GJS Document 37-1 Filed 10/13/20 Page 62 of 62 Page ID
                                           #:276
                                                                                                                             Invoice
                                                                                                                   Date            5/13/2019
1400 North McDowell Blvd. Suite 300                                                                                Customer            0122476
Petaluma, CA 94954
1-800-938-8815 ext. 1                                                                                              Invoice         11814366
TIN: XX-XXXXXXX
                                                                                                                   Due Date        5/13/2019
 Bill To
                                                                                                                   Terms                 Daily
 Jesse Graham
 1055 West 7Th Street                                                                                              Amount Due          $230.00
 3365
 los angeles CA 90650




 Order Number                                           13149579
 Billing Code
 Case Number                                            2:18-cv-09071-MWF-GJS
 Court Transaction Number
 Contact                                                Jesse Graham
 Attorney                                               none
 Case Title                                             Jesse Graham v Taylor Swift, et al.
 Documents                                              Complaint, Summons
 Court                                                  United States District Court, Central District of California
 Assignment Details                                     Non-Service - Taylor Swift


 ONE LEGAL FEES                                                                                                                        AMOUNT
 Additional Service Attempts - One Day                                                                                                 $125.00
 Process Serving Area Surcharge                                                                                                        $105.00
      SUBTOTAL                                                                                                                         $230.00

 FEES SUMMARY                                                                                                                          AMOUNT
 One Legal Fees                                                                                                                        $230.00
      TOTAL BILLED                                                                                                                     $230.00




Past due balance may be charged a late payment fee and/or a late charge of up to 1.5% per month (18% per annum).
